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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN




Jesse Kennedy,

                                   Plaintiff(s),
v.                                                     Case No. 2:19−cv−10458−DPH−RSW
                                                       Hon. Denise Page Hood
Arbor Professional Solutions,
Inc.,

                                   Defendant(s),



                                      NOTICE TO APPEAR

   You are hereby notified to appear before District Judge Denise Page Hood at the United
States District Court, Theodore Levin U.S. Courthouse, 231 W. Lafayette Boulevard, Room
219, Detroit, Michigan, for the following proceeding(s):

      • SCHEDULING CONFERENCE: July 29, 2019 at 10:15 AM



                                      Certificate of Service

   I hereby certify that this Notice was electronically filed, and the parties and/or counsel of
record were served.

                                               By: s/L. Saulsberry
                                                   Case Manager

Dated: June 14, 2019
